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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

_______________________________________
                                       )
IN RE: TERRORIST ATTACKS ON            ) Civil Action No. 03 MDL 1570 (GBD) (SN)
SEPTEMBER 11, 2001                     )
_______________________________________)

This document relates to:      All actions


      NOTICE OF FILING OF NOTICE OF POTENTIAL TAG-ALONG ACTION
          WITH JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

       The Kingdom of Saudi Arabia (“Saudi Arabia”) hereby notifies the Court that, earlier

today (March 21, 2018), it filed a Notice of Potential Tag-Along Action (the “Notice”) with the

Judicial Panel on Multidistrict Litigation (the “Panel”), pursuant to Rule 7.1(a) of the Panel’s

Rules of Procedure. The Notice informs the Panel of the filing on March 9, 2018, in the United

States District Court for the District of Columbia, of Katherine M. Dillaber, et al. v. Islamic

Republic of Iran, et al., No. 1:18-cv-554-KBJ. A copy of the Notice is attached as Exhibit 1.

       As set forth in more detail in the Notice, the Dillaber complaint is brought by seven

plaintiffs who allege they suffered injuries caused by the attacks of September 11, 2001. It

names as defendants the Islamic Republic of Iran, the Iranian Ministry of Information and

Security, and Saudi Arabia. Most of the Dillaber complaint, as it relates to Saudi Arabia,

appears to have been copied from the Consolidated Amended Complaint filed last year in this

MDL, ECF No. 3463 (“CAC”), with only minor modifications. See Ex. 1, at 1 n.1.

       Saudi Arabia has requested that the Panel transfer Dillaber to this District for

consolidation into the MDL, consistent with the Panel’s previous ruling that “the Southern

District of New York serves as the nexus for claims resulting from or related to the terrorist-

related aircraft crashes of September 11, 2001.” In re Terrorist Attacks on September 11, 2001,
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295 F. Supp. 2d 1377, 1379 (J.P.M.L. 2003).* Saudi Arabia further notes that a group of

Plaintiffs in this MDL have filed a similar Notice and made a similar request.

                                             Respectfully submitted,



                                             /s/ Michael K. Kellogg
                                             Michael K. Kellogg
                                             Mark C. Hansen
                                             Gregory G. Rapawy
                                             KELLOGG, HANSEN, TODD,
                                               FIGEL & FREDERICK, P.L.L.C.
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March 21, 2018                               Counsel for the Kingdom of Saudi Arabia




       *
          Saudi Arabia has not yet been served with a copy of the Dillaber complaint pursuant to
the provisions of 28 U.S.C. § 1608(a) and reserves all rights in connection with such service. As
it has in other cases in this MDL, Saudi Arabia will consider a request for waiver of service at
such time as the Dillaber plaintiffs make one. For the avoidance of doubt, Saudi Arabia also
reserves any other immunities, defenses, or objections under the Foreign Sovereign Immunities
Act of 1976 or otherwise, including objections to personal jurisdiction.
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on March 21, 2018, I caused an electronic copy of the foregoing

Notice of Filing of Notice of Potential Tag-Along Action to be served electronically by the

Court’s Electronic Case Filing (ECF) System and by United States first-class mail on any parties

not participating with the Court’s ECF system as thereafter advised by the Court.



                                                 /s/ Michael K. Kellogg
                                                 Michael K. Kellogg
